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VAN−019 Deficiency Notice − Petitions (BNC) − Rev. 07/02/2018

                              UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                         Wilmington Division

IN RE:
Rshandia Nicole Campbell                                          CASE NO.: 18−05860−5−SWH
( known aliases: Roshandia Nicole Campbell, Rshandia Campbell
Nicole Campbell )                                                 DATE FILED: December 6, 2018
58 Nicie Purdie Road
Bladenboro, NC 28320                                              CHAPTER: 7




                                                        DEFICIENCY NOTICE

To: Rshandia Campbell
The above referenced petition has been filed. In order for the case to be administered, it is necessary that
the item(s) described below be filed by December 20, 2018 .

Statement of Intent, The electronic noticing request was omitted for debtor. Proof of identity was not
provided.

Pursuant to §521(i)(1) of the Bankruptcy Code, this case may be automatically dismissed effective on the
46th day after the date of the filing of the petition if the above listed deficiency is not corrected. Should the
case be dismissed and the debtor(s) file another petition within one year, the automatic stay may be limited
to 30 days or may not go into effect absent a motion and order imposing or extending the automatic stay.

The Statement of Intent must be filed by January 7, 2019 .

The Summary of Your Assets and Liabilities and Certain Statistical Information must be filed by
December 20, 2018 .

Pursuant to Bankruptcy Rule 1008, all petitions, lists, schedules, statements, and amendments should be
verified or contain an unsworn declaration as provided in 28 U.S.C. 1746.

The three day mailing period as provided for under Rule 9006(f), Federal Rules of Bankruptcy Procedure,
does not apply.

DATED: December 6, 2018

                                                                  Ahronda Crossman
                                                                  Deputy Clerk
